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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION


FRANCES SMITH, Individually and on                                                      PLAINTIFF
Behalf of all Others Similarly Situated


vs.                                   No. 1:17-cv-82-JLH


PREFERRED FAMILY HEALTHCARE, INCORPORATED,
d/b/a (1) HEALTH RESOURCES OF ARKANSAS,
(2) DECISION POINT, (3) DAYSPRING BEHAVIORAL
HEALTH SERVICES and (4) WILBUR D. MILLS
TREATMENT CENTER                                                                       DEFENDANT


                                  NOTICE OF SETTLEMENT


       The purpose of this Notice of Settlement is to apprise the Court that Plaintiff and

Defendants have entered into a tentative settlement to resolve all claims asserted by

Plaintiff and Opt-In Plaintiffs in this lawsuit. The parties are in the process of finalizing the

settlement documents and expect to file a stipulation of dismissal within four (4) weeks

from the filing of this Notice of Settlement.




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                                                    Respectfully submitted,

                                                    FRANCES SMITH, Individually and
                                                    on Behalf of all Others Similarly
                                                    Situated, PLAINTIFF

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                                                    /s/ Josh Sanford
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                                   And
                                                    PREFERRED FAMILY
                                                    HEALTHCARE INCORPORATED,
                                                    DEFENDANT

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                              CERTIFICATE OF SERVICE

      I, Josh Sanford, do hereby certify that on the date imprinted by the CM/ECF
system, a true and correct copy of the foregoing NOTICE was filed via the CM/ECF
system, which will provide notice to the attorney named below:

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                                                             Josh Sanford




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